
                                                                    



















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-08-194-CV



IN RE LAND O'LAKES PURINA FEED, L.L.C.	RELATOR



------------

ORIGINAL PROCEEDING

------------

MEMORANDUM OPINION
(footnote: 1)
------------

The court has considered relator’s petition for writ of mandamus and is of the opinion that relief should be denied. &nbsp;Accordingly, relator’s petition for writ of mandamus is denied.

Relator shall pay all costs of this original proceeding, for which let execution issue.



PER CURIAM





PANEL B: &nbsp;WALKER, GARDNER, and MCCOY, JJ.



DELIVERED: &nbsp;May 13, 2008

FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.




